             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-2


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                    ORDER
                                 )
                                 )
KENNETH ASHE,                    )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se “Motion

to Appeal Decision” [Doc. 222].

     On March 19, 2013, the Defendant pleaded guilty pursuant to a written

plea agreement to conspiracy to possess with intent to distribute a quantity

of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846.                On

December 3, 2013, the Defendant’s counsel filed an Unopposed Motion for

a Hearing Regarding Status of Counsel [Doc. 134], which was heard by the

Magistrate Judge on December 6, 2013. At the hearing, the Magistrate

Judge found that the Defendant had knowingly and voluntarily waived his

right to counsel and therefore allowed the Defendant to represent himself.




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The Magistrate Judge entered a written order to this effect on December 11,

2013. [Doc. 141].

     This matter proceeded to sentencing on December 11, 2013, at which

time this Court sentenced the Defendant to 87 months’ imprisonment. [Doc.

147]. The Defendant appealed, and on September 9, 2014, the Fourth

Circuit Court of Appeals affirmed his conviction and sentence in an

unpublished opinion. United States v. Ashe, No. 13-4992 (4th Cir. Sep. 9,

2014) (per curiam). The Defendant has filed a motion to vacate pursuant to

28 U.S.C. § 2255, which is still pending. [Doc. 210].

     The Defendant now seeks to appeal the Magistrate Judge’s Order

allowing him to proceed pro se. [Doc. 222]. The Defendant’s motion must

be denied. The Defendant failed to raise any objection to the District Court

regarding the Magistrate Judge’s Order. See Fed. R. Crim. P. 59(a) (stating

that objections to a magistrate judge’s nondispositive order must e filed

within 14 days). He further failed to raise any objection to the Order on his

direct appeal. Having failed to object to the Magistrate Judge’s Order in a

timely manner, the Defendant’s appeal must be denied and dismissed.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se “Motion

to Appeal Decision” [Doc. 222] is DENIED and DISMISSED.


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  IT IS SO ORDERED.
                            Signed: May 14, 2015




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